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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

BASF CORPORATION, Case No. 2:21-cv-05869-JF W-SKx

Plaintiff,
Vs. JUDGMENT

ASHRAF M. JAKVANTI a/k/a and/or f/k/a AJ
JAKVANI, d/b/a FIX AUTO CHINO, d/b/a FIX
AUTO POMONA, d/b/a FIX AUTO BALDWIN
PARK, and in his individual capacity,

Defendant.

 

 

On July 20, 2021, Plaintiff BASF Corporation, Inc. (“BASF”) filed this action against
Defendant Ashraf M. Jakvani a/k/a and/or f/k/a AJ Jakvani d/b/a Fix Auto Chino, d/b/a Fix Auto
Pomona, d/b/a Fix Auto Baldwin Park (collectively, “Defendant”) for breach of contract, unjust
enrichment, and declaratory judgment. (Compl., ECF No. 1.) On July 29, 2021, BASF served the
Summons and Complaint on Defendant. (Proof of Service, ECF No. 11.) Defendant never
answered nor otherwise appeared. On September 20, 2021, the Clerk entered default against
Defendant. (ECF No. 14.) On October 27, 2021, BASF moved for entry of default judgment
against Defendant. (ECF No. 17.) The Court granted BASF’s Motion on November 16, 2021.
(Order, ECF No. 18.)

It is therefore ORDERED, ADJUDGED, and DECREED that BASF shall
recover from Defendant the following: $1,651,092.99 ($1,650,589.62 in damages and $503.37 in

costs)

    
  

x.

INORABLE JOHN F. WALTER

Dated: November 22, 2021

 

 
